          Case 25-30155 Document 70 Filed in TXSB on 05/06/25 Page 1 of 1




                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

In re:                         §
                               §                         Case No. 25-30155
ALLIANCE FARM AND RANCH, LLC & §
ALLIANCE ENERGY PARTNERS, LLC §                          (Jointly Administrated)
          Debtors.             §

                          NOTICE OF ISSUANCE OF SUBPOENAS

         Notice is hereby provided that subpoenas for records have been issued under Fed. R. Bankr.

P. 9016, and have been served on the following:

         1.     Truist Bank
         2.     Frost Bank

         A copy of the subpoenas may be requested from the undersigned counsel.

         Dated: May 6, 2025.

                                              Respectfully submitted,

                                              /s/ Heather Heath McIntyre      __
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                                              COUNSEL FOR DUSTIN ETTER,
                                              CREDITOR

                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document
was served on all parties receiving ECF notice via the Court’s CM/ECF system in the above-
referenced case on May 6, 2025.

                                              /s/ Heather Heath McIntyre
                                              Heather Heath McIntyre
